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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

                                                     )
DR. ROBERT W. MALONE,                                )
                                                     )
               Plaintiff,                            )
       v.                                            )       Case No. 3:22-cv-63
                                                     )
PETER R. BREGGIN, MD, et al.                         )
                                                     )
               Defendants.                           )
                                                     )

              NOTICE OF WAIVER OF HEARING ON MOTION TO MODIFY
                 PRETRIAL ORDER AND STAY DISCOVERY (DKT. 35)

       PLEASE TAKE NOTICE that pursuant to Local Civil Rule 11(b), defendant Dr. Jane Ruby,

by counsel, hereby advises the Court that all parties agree to submission of the following motion

without a hearing:

 06/26/2023     35 MOTION re 34 Pretrial Order,, Case Referred to Magistrate Judge, to Modify
                   Pretrial Order and Stay Discovery by Jane Ruby. Motions referred to Judge Joel C.
                   Hoppe. (Hill, Rowland)



Date: August 3, 2023                                 Respectfully submitted,

                                                     Dr. Jane Ruby

                                                     By Counsel

                                              MERRITTHILL, PLLC

                                              /s/ R. Braxton Hill, IV
                                              R. Braxton Hill, IV (VSB No. 41539)
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                                   Attorneys for Defendant Dr. Jane Ruby
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this date the foregoing document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to the non-registered participants.


Date: August 3, 2023


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